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                  UNITED STATES COURT OF APPEALS                        FILED
                          FOR THE NINTH CIRCUIT                          JUN 23 2023
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS
UNITED STATES OF AMERICA,                       No. 23-1040
                                                D.C. No.
             Plaintiff - Appellee,              5:18-cr-00258-EJD-1
                                                Northern District of California, San
 v.                                             Jose
ELIZABETH A. HOLMES,                            ORDER

             Defendant - Appellant.


UNITED STATES OF AMERICA,                       No. 23-1167
                                                D.C. No.
             Plaintiff - Appellee,
                                                5:18-cr-00258-EJD-1
                                                Northern District of California, San
 v.                                             Jose
ELIZABETH A. HOLMES,                            ORDER

             Defendant - Appellant.

      The court sua sponte consolidates Appeal Nos. 23-1040 and 23-1167.

The parties must include all case numbers on future filings.

      The existing briefing schedule in Appeal No. 23-1167 will govern these

consolidated appeals.


                                             FOR THE COURT:

                                             MOLLY C. DWYER
                                             CLERK OF COURT
